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Reg. No. 6,585,492           Novo Nordisk A/S (DENMARK LIMITED LIABILITY COMPANY)
                             Novo Allé
Registered Dec. 14, 2021     DK-2880 Bagsvaerd
Int. Cl.: 5                  DENMARK
                             CLASS 5: Pharmaceutical preparations for weight reduction and long term weight loss
Trademark                    maintenance
Principal Register           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                             ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                             PRIORITY DATE OF 10-28-2020 IS CLAIMED

                             OWNER OF INTERNATIONAL REGISTRATION 1573383 DATED 10-29-2020,
                             EXPIRES 10-29-2030

                             SER. NO. 79-303,393, FILED 10-29-2020
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      REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


 Requirements in the First Ten Years*
 What and When to File:


     • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
       years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
        registration will continue in force for the remainder of the ten-year period, calculated from the registration
        date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


     • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
       for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

     • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
       between every 9th and 10th-year period, calculated from the registration date.*

 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
 payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
 extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
 Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
 time periods for filing are based on the U.S. registration date (not the international registration date). The
 deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
 issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
 renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
 registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
 Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
 international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
 registration, see http://www.wipo.int/madrid/en/.

 NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
 USPTO website for further information. With the exception of renewal applications for registered
 extensions of protection, you can file the registration maintenance documents referenced above online at
 http://www.uspto.gov.

 NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
 owners/holders who authorize e-mail communication and maintain a current e-mail address with the
 USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
 available at http://www.uspto.gov.




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